 Case 2:17-cv-11452-AC-RSW ECF No. 5 filed 06/28/17       PageID.17   Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

KURT DAVID,
    Plaintiff,
                                            Case No. 2:17-cv-11452-AC-RSW
-vs.-                                       Hon. Avern Cohn

EQUIFAX INFORMATION
SERVICES, LLC,
a Georgia corporation,
      Defendant.
__________________________________________________________________

               NOTICE OF SETTLEMENT WITH DEFENDANT
                EQUIFAX INFORMATION SERVICES, LLC

        Plaintiff and Defendant, Equifax Information Services, LLC, have agreed to

settle this lawsuit and intend to file a Stipulation of Dismissal as to Equifax

Information Services, LLC, with prejudice, no later than August 28, 2017.


                                Respectfully submitted,

                                /s/ Travis L. Shackelford
                                Travis Shackelford (P68710)
                                Credit Repair Lawyers of America
                                Attorney for Plaintiff
                                22142 West Nine Mile Road
                                Southfield, MI 48033
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                                travis@crlam.com

June 28, 2017
 Case 2:17-cv-11452-AC-RSW ECF No. 5 filed 06/28/17       PageID.18    Page 2 of 2




                             PROOF OF SERVICE

      I, Amber Gingiloski, hereby state that on June 28, 2017, I served a copy of
the within pleading upon all counsel of record via the ECF System.

                                /s/ Amber Gingiloski
